Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 1 of 11




            EXHIBIT 5
 Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 2 of 11




    I,   PAT   J.   DANIEL, City Secretary of the City of Houston, Texas, do hereby certify

that the within and foregoing         is   a   true and correct copy of Ordinance 1990-677 passed

and adopted by the City Council of said City            on   the 13th day of June, 1990,   as   the same

appears   in   the records   in   my office.

    WITNESS         my   hand and the Seal of said City this 7th day of January, 2022.




                                                       Pat J. Daniel
                                                       City Secretary




                                                                                     COH e-002957
Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 3 of 11




                                                            COH e-002958
Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 4 of 11




                                                            COH e-002959
   Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 5 of 11

PRB893     '




    (e)        Nonprofit       arts organization shall                         mean       an    organization
having exempt status under                    26       U.S.C.       §501(c)(3)            as    a charitable
organization              whose     primary purpose is                      the       presentation             or
promotion of art in               any form.



    (f)        Permittee shall         mean the             holder of      a    permit issued           by the

Director        under this         Ordinance and includes                       the       permit holder's
agents, employees            and    subcontractors.


     (g)       Sidewalk shall          mean     that portion of the dedicated street
right-of-way that is improved for pedestrian use.


     (h)       Street        performers            shall           mean        and        include       bands,
musicians, singers, mimes and other artists who perform for
gratuities without the use of any electronically  amplified
instruments and without electronic  amplification  of sound
produced.


    Section          2.      The     Director          may        issue permits to merchandise
vendors        andstreet performers for use of the sidewalks within the
District        during the term of this Ordinance. The Director may
promulgate regulations                 relating             to     the    filing          and approval          of
applications          and    shall    make copies                thereof available in his office
at the fees prescribed by law.                          Applications           shall       be    granted   on    a


first-applied-first-issued                 basis,                   subject          to        the   aforesaid
regulations          and    following criteria:


                                                   -    3    -
                                                                                                COH e-002960
   Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 6 of 11
PRB893




    (a)    Permits for merchandise vendors shall be limited to
           non-profit arts organizations which must provide written
           assurance that all proceeds in excess of necessary and
           reasonable operating expenses will be used exclusively
           for the development and promotion of the arts in the
           City.    The applicant      shall also demonstrate that it
           holds a City of    Houston    charitable solicitation permit
           for the purpose of conducting the sales.
    (b)    Applicants   for merchandise vendor permits shall be
           required to provide proof that their operations will be
           covered by comprehensive general liability              insurance
           with limits of not     less    than  $100,000   for  death   of or
           injury to one    person    and   $300,000   for  death   of  or an
           injury to more than     one  person   and  $25,000  for   property
           damage, per occurrence, which policy shall name the City
           as an additional     insured, and shall provide that ten
            (10) days prior  notice    be given to the Director in the
           event of    cancellation.
     (c)   All applications       shall be for a specific site which
           shall be   identified   to the extent that it can be clearly
           located  on  the   sidewalk.
     (d)   Each application  shall be accompanied by the written
           permission of the abutting fee owner for the use of the
           site.
     (e) Sites for street performers shall be at least 130 feet
         apart.
     (f) The size and location of sites must be such that they
         will not pose a hazard to vehicular or pedestrian
           traffic.
     (g)   A   separate application        and       permit shall   be   required for
           each    site.
     (h)   Each merchandise vendor application shall   describe the
           nature, size and manner of construction of  any carts or
           racks, or other display equipment which shall be subject
           to review to ensure that the same               will not      pose   a   hazard
           to vehicular or pedestrian traffic.




                                                                          COH e-002961
                                       -    4    -
   Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 7 of 11

PRBS93     -




    Each        application          shall       be       referred     by   the Director        to     the
Department           of Traffic      and Transportation                (Public    Works   Department

following July 1, 1990) for review under the criteria                                      of        items

(e), (f) and (h) above.


    Section           3.     Operations under permits shall                      be   subject to the
following restrictions:
     (a) A permit shall be valid only for the use of the site
         stated thereon and must be maintained at the site at all
         times while the site is in use.
     (b) All   activities     will be conducted upon the designated
         site.
     (c) In the event that activities           at any site should cause
         undue vehicular and       pedestrian    traffic congestion or any
         other   unsafe     condition,  then   the   Director or any peace
         officer     of    the  City    may   direct     the permittee to
         temporarily       vacate   the  site   until     the situation has
         abated, and     the  permittee  shall    comply.

     (d)       All    equipment      and materials shall be removed from the
               site        at any time  that the permittee is not physically
               present upon the site.
     (e)       Sales of merchandise shall be limited to artwork,
               souvenirs and fresh flowers and shall be made only to
               pedestrians. No merchandise shall be offered or sold to
               any occupant of any vehicle.

     (f) Permittees shall remain within their sites and shall not
         hawk their merchandise or services in any manner, but
         may respond  to inquiries about their merchandise or
         services.
     (g) The fee for a merchandise vendor permit shall         be
               $100.00,
               and the         fee   for     a   street            performer permit shall             be
               $50.00.




                                                      -    5   -
                                                                                       COH e-002962
   Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 8 of 11
PRB893     -




    Section       4.             The     denial of              a       permit     by     the Director           may    be

appealed       to the City's                  Director of Finance                        and    Administration            or

his designee               who        shall act           as        the hearing            officer       under this
Ordinance.        The           Director          may     revoke permits                 for violation           of   this
Ordinance or other applicable laws                                          and   regulations.           Revocations
shall also       be        subject to              an    appeal hearing to be conducted                           by the

hearing officer.                 Decisions of the hearing officer                                shall      be   final.


    Section       5.            It is        an    affirmative defense to prosecution under
Section 28-6 or Section 40-8 of the Code of Ordinances, Houston,
Texas, that the actor was acting pursuant to a valid permit issued
under    this Ordinance                 and       in compliance with this Ordinance.


    Section       6.             This        Ordinance and any permits issued hereunder
shall    expire            on    July        31,        1990.           Following         its     expiration,          the
Director       shall            make     a  report to the City Council assessing the
benefits,        if         any,         and problems, if any, arising    from this

Ordinance.            The        report           may     be        utilized        by    the City          Council in
deciding whether to have similar programs in the future.


     Section          7.         If     any       provision, section,                    subsection, sentence,
clause, or phrase of this Ordinance, or the application of same to
any person or set of circumstances is for any reason held to be
unconstitutional,                     void or invalid,                      the validity         of   the    remaining
portions of this Ordinance or their application                                                  to other persons




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                         Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 9 of 11
                PRB893




                or sets          of circumstances shall affected thereby, it being
                                                                             not       be

                the intent of the City Council in adopting this Ordinance that no
                portion hereof or provision or regulation contained herein shall
                become inoperative or fail by reason of any unconstitutionality,
                voidness or invalidity    of any other portion hereof, and all
                provisions of this Ordinance are declared to be severable for that
                purpose.


                          Section        8.        There   exists        a        public emergency requiring that
                this Ordinance                be    passed finally                on        the date    of           its     introduction
                as       requested in writing                  by the Mayor;                     therefore,               this       Ordinance
                shall           be finally on such date and shall take effect
                                      passed
                immediately upon its passage and approval by the Mayor; however,
                in the event that the Mayor fails to sign this Ordinance within
                five days after its passage and adoption, it shall take effect in
                accordance with Article                    VI, Section                 6,    Houston City Charter.
                           PASSED AND ADOPTED              this              day of                                   ,    19            .


                                 APPROVED          this    È         day of                            ,    19        ¶0             .

                                                                              ayor of tgg Cig| of Houston
                          Pursuant to Article                  VI,     Section              6,   Houston City Charter,                       the
                effective date of the foregoing Ordinance is                                               am    1    emon                    -



                                                                             City Secretary
                (Prepared by Legal Dept.           ust   0449                                                                    )
                                                                                                                                         Y



                (PRB/ps 6/08/90)           Senior Assistant CÉty Attorney
                (Requested by Planning and Development Department)
                (L.D. File No. 21-90004)
                PRB893


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REVIEW
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                                                                                                                           COH e-002964
          JUN    1   9   1990
DATE:
                  Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 10 of 11
                                             x
                                                        '
                                                                     REQUEST            FOR      COUNCIL ACTION                                        -        '




  TO:           Mayor via City Secretary                                                                                                         Agenda Item


      SUBJECT:                                                                                                                        Category
       An Ordinance providing for the issuance    of                          permits to certain street performers                    a                     Page
       and vendors during a trial period in certain                           areas of downtown Houston                                    9
                                                                                                                                                            1   of
                                                                                                                                                                           1




  FROM (Department                         or    other point       of   origin):                                   Origination Date              Agenda Date
                                  Planning        &   Development                                                               06-05-90                   )¾        3 3       1980



      DifiËÒ                S   SIGNATURE:                                                                         Council District affected:


      For   additional information contact:                                                M. Wallace              Date and identification        of       prior authorizing
                                                            Phone:                         247-1217                Council action:

      RECOMMENDATION:(Summary)

        Approval of an Ordinance providing for the                             issuance           of   permits   to certain street   performers
        and vendors during a trial period in certain                          areas of           downtown        Houston




  Somorce                  Fdunding:        NONE
                  o


  SPECIFIC            EXPLANATION:
        On May 9, 1990, City Council approved a resolution requesting that an ordinance be prepared which
        would allow for the limited sale of merchandise and street performances on City Rights-of-Way in certain
        areas of downtown Houston.         The Department of Planning    & Development, in coordination with
        Councilmembers Tinsley and Reyes, the Legal, Traffic & Transportation, and Parks and Recreation
        Departments, and Central Houston Civic Improvement, Inc., is presenting this requested ordinance.

       The   ordinance provides that non-profit arts organizations may receive permits to sell artwork, souvenirs
       and/or fresh flowers to pedestrians from designated sidewalk locations within an area bounded by Preston
       Street to the North, Walker Street to the South, Milam Street to the East, and Interstate Highway 45 on the
       West. The permit fee will be $100,00. The Organization must provide assurances       that proceeds from the
       sales, in excess of reasonable operating expenses, will be used exclusively for the promotion and
       development of the arts in the City. The ordinance also provides that street pelformers, including bands,
       musicians,  mimes, singers and other artists who perform for gratuities without the assistance of electronic
       instruments or amplification, may obtain permits to perform within the same boundaries as described above
       for a fee of $50.00.


       The      Department            of    Planning        &   Development    will be          designated      to issue the permits, Each application                     for
        a   permit must be accompanied                            by the written permission              of   the abutting property owner for the use                          of

       the site.

       This  ordinance and any permits issued under                                it       expire on July 31, 1990.
                                                                                         will                           Following that date, the
        Director of Planning & Development will make                               a     report to the City Council evaluating the program and
        making recommendations as to its renewal.

       Approval            is   recommended.

       copy:          Al    Haines,        Finance    & Administration
                      Clarence         West,      City Attorney


                                                                         REQUIRED AUTHORIZATION
  F    &    A   Director:                                           GSD Director:                                           Other    Authorization:

L87
                                                                                                                                           COH e-002965
      Case 4:20-cv-00145 Document 48-5 Filed on 06/21/22 in TXSD Page 11 of 11




                                       MAYOR'S REQUEST         FOR       EMERGENCY          PASSAGE




To    the Honorable               City Council of the City of Houston:




        In        accordance           with    the     provisions          of    Article VII,             Section      7   of     the

Charter of the City of Houston,                          I    submit       and    introduce to            you   the ordinances

set    out        in   the     attached agenda for the meeting of the City Council of the

City    of        Houston         on   the    13th     day    of    JUNE,        1990,      with the request that all
such    ordinances,               except       those making          a     grant       of    any       franchise     or    special
privilege,             be      passed        finally    on    the        date     of     their         introduction.            There

exists        a    public         emergency      requiring          such        action       and   I    accordingly request
that    you       pass      the    same      if they   meet    with your approval.




DATE:        JUNE        13,   1990                                                      ayor of            Ci,þ    of Houston




                                                                                                                   COH e-002966
